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                   UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA                      NOTICE OF APPEARANCE

                                              Case No: 21-MJ-386 (JTH)
vs.

MARK ANTHONY SCERBO,

                Defendant.


         The undersigned attorney hereby notifies the Court and counsel that Elizabeth R.

Duel, shall appear as counsel of record, along with Ryan P. Garry, for Mark Anthony

Scerbo, the Defendant in this case.




                                                 Respectfully submitted,

                                                 RYAN GARRY, ATTORNEY, LLC


Dated:     May 24, 2021                          s/ Elizabeth Duel
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